     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 1 of 9 Page ID #:415




 1
                            UNITED STATES DISTRICT COURT
 2
                           CENTRAL DISTRICT OF CALIFORNIA
 3
                                          Western Division
 4
 5      SECURITIES AND EXCHANGE                          Case No. 2:21-cv-04211-DSF-MAR
        COMMISSION,
 6
                     Plaintiff,
 7                                                       FINAL JUDGMENT
              vs.                                        AS TO
 8                                                       STEVEN ROBERT COMISAR
        LFS FUNDING LIMITED
 9      PARTNERSHIP, a private Wyoming
        Limited Partnership; STEPHEN MICHAEL
10      THOMPSON; STEVEN ROBERT
        COMISAR; DALE JAY ENGELHARDT;
11      and, ROSS GREGORY ERSKINE,
12                  Defendants,
13            and
14      BROOKDALE CONSULTING LLC, a
        private California Limited Liability
15      Company; EXECUTIVE PERFORMANCE
        GROUP, INC., a private California
16      corporation; MERIDIAN POINT, LLC, a
        private Nevada Limited Liability Company;
17      and PERSONAL GROUP, LLC, a private
        Nevada Limited Liability Company,
18
                     Relief Defendants.
19
20
21          The Securities and Exchange Commission having filed a Complaint and
22    Defendant Steven Robert Comisar having entered a general appearance; consented to
23    the Court’s jurisdiction over Defendant and the subject matter of this action;
24    consented to entry of this Final Judgment without admitting or denying the
25    allegations of the Complaint (except as to jurisdiction and except as otherwise
26    provided herein in paragraph VII); waived findings of fact and conclusions of law;
27    and waived any right to appeal from this Final Judgment:
28
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 2 of 9 Page ID #:416




 1                                               I.
 2          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
 3    permanently restrained and enjoined from violating, directly or indirectly, Section
 4    10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §
 5    78j(b)] and Rule 10b–5 promulgated thereunder [17 C.F.R. § 240.10b–5], by using any
 6    means or instrumentality of interstate commerce, or of the mails, or of any facility of
 7    any national securities exchange, in connection with the purchase or sale of any
 8    security:
 9          (a)    to employ any device, scheme, or artifice to defraud;
10          (b)    to make any untrue statement of a material fact or to omit to state a
11                 material fact necessary in order to make the statements made, in the light
12                 of the circumstances under which they were made, not misleading; or
13          (c)    to engage in any act, practice, or course of business which operates or
14                 would operate as a fraud or deceit upon any person.
15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
16    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
17    following who receive actual notice of this Final Judgment by personal service or
18    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)
19    other persons in active concert or participation with Defendant or with anyone
20    described in (a).
21                                              II.
22          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
23    Defendant is permanently restrained and enjoined from violating Section 17(a) of the
24    Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale
25    of any security by the use of any means or instruments of transportation or
26    communication in interstate commerce or by use of the mails, directly or indirectly:
27          (a)    to employ any device, scheme, or artifice to defraud;
28

                                                 1
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 3 of 9 Page ID #:417




 1          (b)    to obtain money or property by means of any untrue statement of a
 2                 material fact or any omission of a material fact necessary in order to make
 3                 the statements made, in light of the circumstances under which they were
 4                 made, not misleading; or
 5          (c)    to engage in any transaction, practice, or course of business which
 6                 operates or would operate as a fraud or deceit upon the purchaser.
 7          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
 8    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 9    following who receive actual notice of this Final Judgment by personal service or
10    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)
11    other persons in active concert or participation with Defendant or with anyone
12    described in (a).
13                                                III.
14          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
15    Defendant is permanently restrained and enjoined from violating Section 5 of the
16    Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any
17    applicable exemption:
18          (a)    unless a registration statement is in effect as to a security, making use of
19                 any means or instruments of transportation or communication in interstate
20                 commerce or of the mails to sell such security through the use or medium
21                 of any prospectus or otherwise;
22          (b)    unless a registration statement is in effect as to a security, carrying or
23                 causing to be carried through the mails or in interstate commerce, by any
24                 means or instruments of transportation, any such security for the purpose
25                 of sale or for delivery after sale; or
26          (c)    making use of any means or instruments of transportation or
27                 communication in interstate commerce or of the mails to offer to sell or
28                 offer to buy through the use or medium of any prospectus or otherwise

                                                   2
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 4 of 9 Page ID #:418




 1                 any security, unless a registration statement has been filed with the
 2                 Commission as to such security, or while the registration statement is the
 3                 subject of a refusal order or stop order or (prior to the effective date of the
 4                 registration statement) any public proceeding or examination under
 5                 Section 8 of the Securities Act [15 U.S.C. § 77h].
 6          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
 7    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 8    following who receive actual notice of this Final Judgment by personal service or
 9    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)
10    other persons in active concert or participation with Defendant or with anyone
11    described in (a).
12                                               IV.
13          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
14    Defendant is permanently restrained and enjoined from violating, directly or indirectly,
15    Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)] by making use of the
16    mails or any means or instrumentality of interstate commerce, to effect any transactions
17    in, or to induce or attempt to induce the purchase or sale of any security (other than an
18    exempt security or commercial paper, bankers’ acceptance, or commercial bills) unless
19    Defendant is registered in accordance with Section 15(b) of the Exchange Act [15
20    U.S.C. § 78o(b)].
21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
22    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
23    following who receive actual notice of this Final Judgment by personal service or
24    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)
25    other persons in active concert or participation with Defendant or with anyone
26    described in (a).
27
28

                                                  3
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 5 of 9 Page ID #:419




 1                                                  V.
 2          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that,
 3    pursuant to Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], Defendant
 4    is permanently restrained and enjoined from, directly or indirectly, including, but not
 5    limited to, through any entity owned or controlled by Defendant, soliciting any person
 6    or entity to purchase or sell any security.
 7          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
 8    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
 9    following who receive actual notice of this Final Judgment by personal service or
10    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)
11    other persons in active concert or participation with Defendant or with anyone
12    described in (a).
13                                                  VI.
14          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that,
15    pursuant to Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], Defendant
16    is permanently restrained and enjoined from, directly or indirectly, including, but not
17    limited to, through any entity owned or controlled by Defendant, participating in the
18    issuance, purchase, offer, or sale of any security, provided, however, that such
19    injunction shall not prevent Defendant from purchasing or selling securities for
20    Defendant’s own personal account.
21          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
22    in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
23    following who receive actual notice of this Final Judgment by personal service or
24    otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)
25    other persons in active concert or participation with Defendant or with anyone
26    described in (a).
27
28

                                                    4
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 6 of 9 Page ID #:420




 1                                              VII.
 2          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
 3    Defendant is liable for disgorgement of $6000, representing net profits gained as a
 4    result of the conduct alleged in the Complaint, together with prejudgment interest
 5    thereon in the amount of $611.15, and/or a civil penalty in the amount of $6000
 6    pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section
 7    21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. Defendant shall satisfy this
 8    obligation by paying $12,611.15 to the Securities and Exchange Commission pursuant
 9    to the terms of the payment schedule set forth in paragraph VIII below after entry of
10    this Final Judgment.
11          Defendant may transmit payment electronically to the Commission, which will
12    provide detailed ACH transfer/Fedwire instructions upon request. Payment may also
13    be made directly from a bank account via Pay.gov through the SEC website at
14    http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check,
15    bank cashier’s check, or United States postal money order payable to the Securities and
16    Exchange Commission, which shall be delivered or mailed to:
17                              Enterprise Services Center
18                              Accounts Receivable Branch
19                              6500 South MacArthur Boulevard
20                              Oklahoma City, OK 73169
21    and shall be accompanied by a letter identifying the case title, civil action number, and
22    name of this Court; Defendant’s name as a defendant in this action; and specifying that
23    payment is made pursuant to this Final Judgment.
24          Defendant shall simultaneously transmit photocopies of evidence of payment
25    and case identifying information to the Commission’s counsel in this action. By making
26    this payment, Defendant relinquishes all legal and equitable right, title, and interest in
27    such funds and no part of the funds shall be returned to Defendant.
28          The Commission may enforce the Court’s judgment for disgorgement and

                                                  5
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 7 of 9 Page ID #:421




 1    prejudgment interest by using all collection procedures authorized by law, including,
 2    but not limited to, moving for civil contempt at any time after 30 days following entry
 3    of this Final Judgment.
 4             The Commission may enforce the Court’s judgment for penalties by the use of
 5    all collection procedures authorized by law, including the Federal Debt Collection
 6    Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the
 7    violation of any Court orders issued in this action. Defendant shall pay post-judgment
 8    interest on any amounts due after 30 days of the entry of this Final Judgment pursuant
 9    to 28 U.S.C. § 1961. The Commission shall hold the funds, together with any interest
10    and income earned thereon (collectively, the “Fund”), pending further order of the
11    Court.
12             The Commission may propose a plan to distribute the Fund subject to the Court’s
13    approval. Such a plan may provide that the Fund shall be distributed pursuant to the
14    Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court
15    shall retain jurisdiction over the administration of any distribution of the Fund, and the
16    Fund may only be disbursed pursuant to an Order of the Court.
17             Regardless of whether any such Fair Fund distribution is made, amounts ordered
18    to be paid as civil penalties pursuant to this Judgment shall be treated as penalties paid
19    to the government for all purposes, including all tax purposes. To preserve the deterrent
20    effect of the civil penalty, Defendant shall not, after offset or reduction of any award
21    of compensatory damages in any Related Investor Action based on Defendant’s
22    payment of disgorgement in this action (if any), argue that Defendant is entitled to, nor
23    shall Defendant further benefit by, offset or reduction of such compensatory damages
24    award by the amount of any part of Defendant’s payment of a civil penalty in this action
25    (“Penalty Offset”). If the court in any Related Investor Action grants such a Penalty
26    Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty
27    Offset, notify the Commission’s counsel in this action and pay the amount of the
28    Penalty Offset to the United States Treasury or to a Fair Fund, as the Commission

                                                  6
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 8 of 9 Page ID #:422




 1    directs. Such a payment shall not be deemed an additional civil penalty and shall not
 2    be deemed to change the amount of the civil penalty imposed in this Final Judgment.
 3    For purposes of this paragraph, a “Related Investor Action” means a private damages
 4    action brought against Defendant by or on behalf of one or more investors based on
 5    substantially the same facts as alleged in the Complaint in this action.
 6                                              VIII.
 7          Defendant shall pay the total of disgorgement, prejudgment interest, and
 8    penalty due of $12,611.15 in 4 installments to the Commission according to the
 9    following schedule: (1) $3,152.80, within 90 days of entry of this Final Judgment;
10    (2) $3,152.80, within 180 days of entry of this Final Judgment; (3) $3,152.80, within
11    270 days of entry of this Final Judgment; (4) $3,152.75, within 360 days of entry of
12    this Final Judgment. Payments shall be deemed made on the date they are received
13    by the Commission and shall be applied first to post judgment interest, which accrues
14    pursuant to 28 U.S.C. § 1961 on any unpaid amounts due after 30 days of the entry of
15    Final Judgment. Prior to making the final payment set forth herein, Defendant shall
16    contact the staff of the Commission for the amount due for the final payment.
17          If Defendant fails to make any payment by the date agreed and/or in the
18    amount agreed according to the schedule set forth above, all outstanding payments
19    under this Final Judgment, including post-judgment interest, minus any payments
20    made, shall become due and payable immediately at the discretion of the staff of the
21    Commission without further application to the Court.
22                                              IX.
23          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that,
24    solely for purposes of exceptions to discharge set forth in Section 523 of the
25    Bankruptcy Code [11 U.S.C. § 523], the allegations in the complaint are true and
26    admitted by Defendant, and further, any debt for disgorgement, prejudgment interest,
27    civil penalty, or other amounts due by Defendant under this Final Judgment or any
28    other judgment, order, consent order, decree, or settlement agreement entered in

                                                 7
     Case 2:21-cv-04211-DSF-MAR Document 48 Filed 11/03/21 Page 9 of 9 Page ID #:423




 1    connection with this proceeding, is a debt for the violation by Defendant of the federal
 2    securities laws or any regulation or order issued under such laws, as set forth in Section
 3    523(a)(19) of the Bankruptcy Code [11 U.S.C. § 523(a)(19)].
 4                                               X.
 5          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
 6    shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
 7    Final Judgment.
 8                                               XI.
 9          There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules
10    of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith and
11    without further notice.
12          IT IS SO ORDERED.
13     DATED: November 3, 2021
14
                                              Honorable Dale S. Fischer
15                                            UNITED STATES DISTRICT JUDGE
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  8
